                      CASE NOS. 24-2332, 24-2351

                  UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT


                     STATE OF MISSOURI, et al.,
                    Plaintiffs-Cross-Appellants,
                                   v.
 JOSEPH R. BIDEN, JR., in his official capacity as the President of the
                 United States of America, et al.,
                        Defendants-Appellees.


          On Appeal from the United States District Court
                for the Eastern District of Missouri
          The Honorable District Court Judge John A. Ross
                     Case No. 4:24-cv-520-JAR


EMERGENCY MOTION FOR ADMINISTRATIVE STAY PENDING
 RULING ON MOTION FOR INJUNCTION PENDING APPEAL


                                      ANDREW BAILEY
                                       Attorney General of Missouri
                                      JOSHUA M. DIVINE
                                       Solicitor General
                                      REED C. DEMPSEY
                                        Deputy Solicitor General
                                       SAMUEL FREEDLUND
                                         Deputy Solicitor General
                                      ATTORNEY GENERAL’S OFFICE
                                      Post Office Box 899
                                      Jefferson City, MO 65102
                                      (573) 751-1800
                                      josh.divine@ago.mo.gov




 Appellate Case: 24-2332   Page: 1   Date Filed: 07/12/2024 Entry ID: 5412905
     Just ten days after the Supreme Court struck down Defendants’

first unlawful attempt to mass cancel $430 billion in student loan debt,

Defendants rolled out their Plan B, which they call the “SAVE” plan.

This new plan carries an even higher price tag—$475 billion—and relies

on even weaker statutory text. As this Court did last time Defendants

tried to mass cancel loans, this Court should enter an immediate

administrative stay blocking Defendants from continuing to unlawfully

forgive student loans. See Order granting administrative stay, Nebraska

v. Biden, No. 22-3179 (8th Cir. Oct. 21, 2022). 1

     1. The district court properly concluded that the States in this

action have standing to challenge Defendants’ second attempt at mass

loan forgiveness and that Defendants’ actions are unlawful. The district

court thus preliminarily enjoined the forgiveness portion of the SAVE

plan. R. Doc. 35 (App.395).

     But then in a brazen attempt to unlawfully evade that injunction,

Defendants immediately rolled out a new, third attempt at mass

forgiveness—all without notice and comment or even publication in the



1 https://storage.courtlistener.com/recap/gov.uscourts.moed.198213/gov.

uscourts.moed.198213.53.0.pdf
                                      1


  Appellate Case: 24-2332   Page: 2   Date Filed: 07/12/2024 Entry ID: 5412905
Federal Register. The district court here preliminarily enjoined the parts

of the SAVE plan that purport to authorize forgiveness. But the district

court (wrongly) did not enjoin the parts of that regulation that slash

payment amounts to zero for millions of borrowers.             So Defendants

decided to slice and dice different regulations to create a brand new

“hybrid” repayment plan that no borrower has ever been on before. They

combined the zero-dollar payment provision from the SAVE plan

regulation with a forgiveness provision from a 2015 regulation called

“REPAYE.” R. Doc. 52 at 2 (App.478). The result is strikingly similar to

Defendants’ actions that the district court preliminarily enjoined.

     The problems with this attempt are immediately apparent. Start

first with the fact that the REPAYE regulation no longer exists. By

Defendants’ own admission, the new SAVE plan “fully replace[d]” the

older REPAYE plan. Id. As Defendants state on their website, “The

SAVE Plan replaced the Revised Pay As You Earn (REPAYE) Plan.”

SAVE Plan Announcement (last visited July 11, 2024). 2 The district court

recognized this too: “The Final Rule creates a new income-driven

repayment (‘IDR’) plan—referred to as the Savings on Valuable


2 https://studentaid.gov/announcements-events/save-plan

                                      2


  Appellate Case: 24-2332   Page: 3   Date Filed: 07/12/2024 Entry ID: 5412905
Education (‘SAVE’) plan—to replace the Revised Pay-As-You-Earn

(‘REPAYE’) plan.” R. Doc. 35, at 1 (App.395) (emphasis added).

     Next, while Defendants half-heartedly claim that they have

reverted borrowers to a “preexisting” plan (that no longer exists), nobody

has ever been on this plan before.         The Secretary is authorized to

promulgate repayment plans (so long as the repayment plans follow the

statute). But Defendants created this plan two weeks ago in response to

the preliminary injunction. R. Doc. 52 at 4–5, 9 (App.480–81). Nobody

has ever received the benefit of REPAYE forgiveness plus the payment

amounts under SAVE.         Persons who used to be on the now-defunct

REPAYE plan, for example, had much higher payment amounts.

Defendants cannot mix-and-match different provisions from different

repayment plans into a new “hybrid” plan without notice and comment.

     Then consider that the REPAYE plan, when it used to exist, relied

on the same exact statutory authority that the district court here said

does not authorize loan forgiveness. Defendants’ new hybrid rule is thus

brazenly unlawful for three reasons: it is (1) a transparent attempt to

evade a preliminary injunction by (2) creating a new regulation without




                                      3


  Appellate Case: 24-2332   Page: 4   Date Filed: 07/12/2024 Entry ID: 5412905
notice and comment that (3) purports to forgive loans based on a statute

the district court declared does not authorize forgiveness.

     When the States moved to block this new “hybrid” regulation, the

district court declined on the ground that the district court interpreted

the States’ complaint to apply only to the July 2023 SAVE regulation. R.

Doc. 54 (App.498). But of course when the States filed their complaint,

Defendants had not yet created this new hybrid regulation. Defendants

did that to evade the preliminary injunction.

     The result of the district court’s inaction is that Defendants get to

continue unlawfully forgiving student loans to the tune of nearly $500

billion. And if the States amend their complaint and go through the

process of challenging this new regulation, Defendants will just create

yet another new regulation again. The States should not be forced to play

whack-a-mole where Defendants immediately try to evade a preliminary

injunction by unlawfully and immediately creating new regulations

without notice and comment.

     2. As this Court did in Nebraska v. Biden, this Court should grant

an immediate administrative stay in order to consider the States’ motion

for in injunction pending appeal, which the States are concurrently filing.

                                      4


  Appellate Case: 24-2332   Page: 5   Date Filed: 07/12/2024 Entry ID: 5412905
     For the reasons stated in that motion, the States are highly likely

to prevail on appeal.       The district court has already concluded that

Defendants lack statutory authority to forgive loans, yet they have relied

on the same exact statute to promulgate—without notice and comment—

a new rule to do the same thing and evade the injunction.

     The States also challenge other issues where the district court

declined to enjoin Defendants’ actions. For example, the district court

declined to enjoin Defendants’ decision to slash payments on student

loans to $0 for millions of borrowers. Given the district court’s (correct)

conclusion that Defendants have no authority to forgive loans,

Defendants obviously must set repayment amounts high enough so that

borrowers actually repay their loans.

     The equities support this request. As this Court previously held,

unlawful loan forgiveness creates an “irreversible impact,” making the

“equities strongly favor an injunction.” Nebraska v. Biden, 52 F.4th 1044,

1047 (8th Cir. 2022). Indeed, the equities more strongly favor the States

than last time this Court granted an administrative stay in response to

a mass cancellation attempt. Every day that passes, Defendants are

already unlawfully cancelling loans. As of early April, they have already

                                       5


  Appellate Case: 24-2332    Page: 6   Date Filed: 07/12/2024 Entry ID: 5412905
illegally cancelled $4.8 billion. Biden-Harris Administration Announces

Additional $7.4 Billion in Approved Student Debt Relief for 277,000

Borrowers, U.S. Dep’t of Ed. (Apr. 12, 2024) (reflecting “$4.8 billion for

almost 360,000 borrowers” under this rule). 3 That number has increased

every day, and as the district court rightly concluded, Defendants have

no authority to do any of this.

       In contrast, Defendants have no interest in continuing to act

unlawfully, and borrowers will not be harmed by an administrative stay.

In fact, Defendants have paused interest accrual and payments for

borrowers enrolled in the July 2023 plan and new “hybrid” plan for at

least this month. Thus these borrowers’ payment obligations will not be

affected by this Court granting an administrative stay—blocking

immediate forgiveness—while this Court considers the motion for an

injunction pending appeal.

                                CONCLUSION

       Just as this Court did last time Defendants tried to mass cancel

nearly $500 billion in student loan debt, this Court should enter an


3  https://www.ed.gov/news/press-releases/biden-harris-administration-
announces-additional-74-billion-approved-student-debt-relief-277000-
borrowers
                                   6


    Appellate Case: 24-2332   Page: 7   Date Filed: 07/12/2024 Entry ID: 5412905
immediate administrative stay of Defendants’ actions.              The States

respectfully request that the Court maintain the status quo by

immediately entering an administrative stay that prohibits Defendants

from continuing to forgive principal or interest for borrowers enrolled in

the “SAVE” plan or the new “hybrid” plan, or by otherwise using

authority under 20 U.S.C. § 1087e(d)(1)(D).




                                      7


  Appellate Case: 24-2332   Page: 8   Date Filed: 07/12/2024 Entry ID: 5412905
Dated: July 12, 2024                      Respectfully submitted,

                                          /s/ Joshua M. Divine
                                          Joshua M. Divine

 TIM GRIFFIN                              ANDREW BAILEY
   Attorney General of Arkansas             Attorney General of Missouri
 NICHOLAS J. BRONNI                       JOSHUA M. DIVINE, #69875MO
   Solicitor General                        Solicitor General
 DYLAN L. JACOBS                          REED C. DEMPSEY #1697941DC
   Deputy Solicitor General                 Deputy Solicitor General
 Office of the Arkansas Attorney          SAMUEL FREEDLUND, #73707MO
 General                                    Deputy Solicitor General
 323 Center Street, Suite 200             MISSOURI ATTORNEY GENERAL’S
 Little Rock, AR 72201                    OFFICE
 (501) 682-3661                           Post Office Box 899
 Nicholas.Bronni@arkansasag.gov           Jefferson City, MO 65102
 Dylan.Jacobs@arkansasag.gov              (573) 751-1800
                                          josh.divine@ago.mo.gov
 ASHLEY MOODY                             reed.dempsey@ago.mo.gov
   Attorney General of Florida            samuel.freeland@ago.mo.gov
 JAMES H. PERCIVAL
   Chief of Staff                  CHRISTOPHER M. CARR
 Office of the Attorney General      Attorney General of Georgia
 The Capitol, Pl-01                STEPHEN J. PETRANY
 Tallahassee, Florida 32399-1050     Solicitor General
 (850) 414-3300                    Office of the Attorney General
 james.percival@myfloridalegal.com 40 Capitol Square, SW
                                   Atlanta, Georgia 30334
DREW H. WRIGLEY                    (404) 458-3408
  Attorney General of North Dakota spetrany@law.ga.gov
PHILIP AXT
  Solicitor General
Attorney General’s Office
600 E. Boulevard Ave., Dept. 125
Bismarck, ND 58505
(701) 328-2210
pjaxt@nd.gov
                                      8


  Appellate Case: 24-2332   Page: 9   Date Filed: 07/12/2024 Entry ID: 5412905
DAVE YOST                                GENTNER DRUMMOND
  Attorney General of Ohio                 Attorney General
T. ELLIOT GAISER                         GARRY M. GASKINS, II
  Solicitor General                        Solicitor General
MATHURA J. SRIDHARAN                     Office of the Attorney General
  Deputy Solicitor General               313 N.E. 21st Street
Office of the Attorney General           Oklahoma City, OK 73105
365 East Broad Street                    Phone: (405) 521-3921
Columbus, Ohio 43215                     gentner.drummond@oag.ok.gov
Phone: (614) 466-8980                    garry.gaskins@oag.ok.gov
thomas.gaiser@ohioago.gov




                                     9


Appellate Case: 24-2332   Page: 10   Date Filed: 07/12/2024 Entry ID: 5412905
                  CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limit of Fed. R. App. P.

27(d)(2)(A) because, excluding the parts exempted by Fed. R. App. P.

32(f), it contains 1,178 words as determined by the word-counting feature

of Microsoft Word 2016.

     This motion also complies with the typeface requirements of Fed.

R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared using Microsoft Word 2016 in 14-

point proportionally spaced Century Schoolbook font.

     And this motion complies with the electronic-filing requirements of

Local Rule 28A(h)(2) because it was scanned for viruses using Windows

Defender and no virus was detected.

                                        /s/ Joshua M. Divine
                                        Joshua M. Divine




                                       10


  Appellate Case: 24-2332   Page: 11   Date Filed: 07/12/2024 Entry ID: 5412905
                     CERTIFICATE OF SERVICE

      I certify that on July 12, 2024, I electronically filed the foregoing

motion with the Clerk of the Court by using the CM/ECF system, and

that the CM/ECF system will accomplish service on all parties repre-

sented by counsel who are registered CM/ECF users. See Fed. R. App. P.

25(c)(2).


                                        /s/ Joshua M. Divine
                                        Joshua M. Divine




                                       11


  Appellate Case: 24-2332   Page: 12   Date Filed: 07/12/2024 Entry ID: 5412905
